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                     UNITED STATES DISTRICT COURT

                               DISTRICT OF MAINE


 DAVID E. MURRAY,                         )
                                          )
                           PLAINTIFF      )
                                          )
 V.                                       )     CIVIL NO. 2:15-CV-484-DBH
                                          )
 WAL-MART STORES, INC.,        ET AL.,    )
                                          )
                           DEFENDANTS     )


                       ORDER ON PENDING MOTIONS


      The plaintiff’s objection (ECF No. 150) to the Magistrate Judge’s decision

on his motion for a protective order and his objections to the defendants’ notice

of deposition is OVERRULED. The Magistrate Judge’s ruling appears on the docket

as a text entry. (ECF No. 154.) It limits the deposition to two hours and its

subject matter to the new wage claim in the Second Amended Complaint. That

is a reasonable resolution, and the Magistrate Judge’s ruling is neither clearly

erroneous nor contrary to law. It is the plaintiff who voluntarily added the new

wage claim to his Second Amended Complaint (ECF No. 85-1 at 18-19), and the

defendants are entitled to examine him on it. To the extent that the plaintiff’s

motion for continuance and motion to stay all deadlines are directed to that

ruling, they are DENIED.

      Apart from that discovery issue, I also deal with the Plaintiff’s Objection

(ECF No. 135) to the Magistrate Judge’s Memorandum Decision and Order on

Motions for Accommodation, Continuance, and Stay of Proceedings (ECF No.
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129). It is unfortunate that, according to his physician (ECF No. 150-1), the

plaintiff has suffered increased anxiety, insomnia and mood symptoms resulting

from his lawsuit against his former employer, and that he is proceeding without

a lawyer after two previous lawyers have withdrawn. But this lawsuit has drawn

on now for over three years and involves events that allegedly occurred beginning

in 2010.     (ECF No. 85-1 at 4.)        The Magistrate Judge has been very

accommodating in allowing numerous extensions of deadlines and granting the

plaintiff time to search for successor attorneys, all detailed in his Memorandum

Decision and Order on Motions for Accommodation, Continuance, and Stay of

Proceedings (ECF No.129 at 4). But the defendants also have rights in a lawsuit

and are entitled at some point to a resolution of the claims against them,

favorably or unfavorably. In support of his continuing request for delay and

continuance, the plaintiff provides a short letter from his physician. The letter

suggests no likelihood that the plaintiff’s condition is likely to improve in the

foreseeable future. It concludes simply that “it is medically necessary for Mr.

Murray to be granted time to let his symptoms improve, so he can be in the best

emotional and cognitive position to represent himself without counsel.” (ECF

No. 150-1.) I have looked at previous medical materials the plaintiff provided

and see no projections in them that the plaintiff is on a road to recovery that will

enable his self-representation. I likewise see no evidence that the plaintiff has a

plan for engaging counsel following his lack of success so far.

      Like the Magistrate Judge I am “sympathetic to Murray’s plight,” (ECF No.

129 at 5), but the Magistrate Judge’s decision that the time for further delay has

come to an end, (ECF No. 129), is neither clearly erroneous nor contrary to law.
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      To the extent that the plaintiff’s objections are separate motions for a

temporary injunction, for a continuance, and to stay all proceedings, they are

DENIED for the same reasons.

      I note that the plaintiff’s motion (ECF No. 141) for continuance and stay,

based upon an alleged concealment of conflict of interest on the part of defense

counsel, is not yet ready for ruling.

      SO ORDERED.

      DATED THIS 24TH DAY OF SEPTEMBER, 2018

                                           /S/D. BROCK HORNBY
                                           D. BROCK HORNBY
                                           UNITED STATES DISTRICT JUDGE




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